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S C H I L L E R




                     13
                                         UNITED STATES DISTRICT COURT
                     14         CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
                     15
                        BROIDY CAPITAL MANAGEMENT                     Case No. 18-cv-02421-JFW
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                     16 LLC and ELLIOTT BROIDY,
                                                                      PLAINTIFFS’ MEMORANDUM OF
                     17
                                      Plaintiffs,                     POINTS AND AUTHORITIES IN
                     18                                               OPPOSITION TO THE
                                v.                                    STONINGTON DEFENDANTS’
                     19
                                                                      MOTION TO DISMISS THE FIRST
                     20 STATE OF QATAR, STONINGTON                    AMENDED COMPLAINT
                     21
                          STRATEGIES LLC, NICOLAS D.
                          MUZIN, GLOBAL RISK ADVISORS                 The Honorable John F. Walter
                     22   LLC, KEVIN CHALKER, DAVID
                          MARK POWELL, MOHAMMED BIN                   Hearing Date: August 13, 2018
                     23                                               Time: 1:30pm
                          HAMAD BIN KHALIFA AL THANI,
                     24   AHMED AL-RUMAIHI, and DOES 1-               Courtroom: 7A
                     25
                          10,

                     26               Defendants.
                     27

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                                                                                         Case No. 18-cv-02421-JFW
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                      1                            PRELIMINARY STATEMENT
                      2            The moving defendants’ motion to dismiss should be denied.
                      3            That motion asks the Court to ignore long-established law by extending
                      4 sovereign immunity to the moving defendants.

                      5            That motion also ignores the allegations of ¶¶ 9, 11-12, 90-92, 126, 128-129,
                      6 & 136-137 of the First Amended Complaint (“FAC”), which are sufficient to

                      7 establish personal jurisdiction:
L L P




                      8        • The moving defendants were involved in the dissemination of materials stolen
                      9            in California directly to the California public through national media
F L E X N E R




                     10            organizations with massive circulations on line and in print in that state.
                     11        • They admitted they participated in the unlawful hacks on Plaintiffs’ computer
                     12            servers.
S C H I L L E R




                     13        • They orchestrated the possession and conversion of stolen information
                     14            contained on those servers, then curated and disseminated those stolen
                     15            materials to U.S. media sources.
B O I E S




                     16                                  STATEMENT OF FACTS1
                     17            Elliott Broidy is a California businessman who owns and operates California-
                     18 based Plaintiff Broidy Capital Management LLC (“BCM”). He is a prominent critic

                     19 of defendant Qatar’s sponsorship of terrorism, and is perceived by Qatar and the

                     20 moving defendants as having influence with U.S. policymakers, including President

                     21 Trump, who publicly acknowledged Broidy in a June 2017 speech that criticized

                     22 Qatar’s support of terrorism and supported the commercial embargo imposed on

                     23 Qatar by neighboring countries. (FAC ¶¶ 74-82, 86-87.) In response to these

                     24 sanctions and the President’s support for them, Qatar hired U.S. agents and provided

                     25 them with millions of dollars to fund a sophisticated effort to shift U.S. policy. (Id.

                     26   1
                              The moving defendants purport to base their motion solely on the face of the FAC.
                     27 Although the allegations of the FAC are sufficient to defeat that motion, Plaintiffs
                          include examples of discovery that support those allegations to demonstrate that at a
                     28 minimum, jurisdictional discovery and/or leave to amend the FAC should be
                          permitted.
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                      1 ¶¶ 54-55.)

                      2          As part of those efforts, on August 24, 2017, Qatar retained the moving
                      3 defendants at a rate of $50,000 per month for “consulting services.” (Id.¶¶ 21, 73.)

                      4 Qatar tasked the moving defendants with influencing public opinion regarding

                      5 Qatar, particularly within the Jewish community in the U.S. (Id. ¶¶ 62-64.) Those

                      6 efforts, which included inviting prominent American Jewish leaders to meet with the

                      7 Emir of Qatar, were largely unsuccessful, in part due to Broidy’s efforts. (Id. ¶¶ 65-
L L P




                      8 70, 85.)

                      9          The moving defendants identified Broidy as a key impediment to Qatar’s
F L E X N E R




                     10 efforts to reverse U.S. support of the sanctions regime. The moving defendants then

                     11 orchestrated and launched an attack in an effort to discredit Broidy. (Id. ¶¶ 11, 78-

                     12 80, 88-89, 91); see also July 9, 2018 Declaration of Lee S. Wolosky (“2 Wolosky
S C H I L L E R




                     13 Decl.”); Exh. 2 at 3, ECF No. 134. In November 2017, just prior to the attack on

                     14 Plaintiffs, Qatar increased its monthly payment to the moving defendants from

                     15 $50,000 to $300,000. (Id. ¶ 90.)
B O I E S




                     16          In December 2017, Qatar and its agents unlawfully accessed Plaintiffs’ servers
                     17 in California with stolen access credentials. (Id. ¶¶ 15, 93, 99, 112-13.) The hackers

                     18 stole Plaintiffs’ personal and professional files, correspondence, trade secrets, business

                     19 plans, and other confidential and private documents. (Id. ¶¶ 97-116.) Defendants,

                     20 including the moving defendants, began disseminating the stolen documents to

                     21 journalists affiliated with U.S. media organizations, including outlets with substantial

                     22 presences in California.2 (Id. ¶¶ 7, 14-15, 35, 40, 91-93, 112, 115, 117, 121-22, 126,

                     23 128-29, 137, 157, 233; see also July 9, 2018 Declaration of Joshua N. Friedman

                     24 (“Friedman Decl.”), ¶ 25, ECF No. 135.) Those journalists then wrote articles based

                     25
                          2
                     26  Indeed, just one of the publications that published materials stolen from Plaintiffs,
                        The Wall Street Journal (FAC ¶ 121), has 202,465 print subscribers in California,
                     27 (see Circulation & Distribution Areas, Wall Street Journal,
                        https://classifieds.wsj.com/circulation-distribution-areas/ (last visited July 23,
                     28 2018)), a number that does not include the Journal’s digital subscribers in
                        California, or readers in California without personal subscriptions.
                                                                   2                  Case No. 18-cv-02421-JFW
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                      1 on information contained in the stolen materials. (FAC ¶¶ 117-26.) According to cell

                      2 phone records obtained by Plaintiffs, during that time period, Muzin had multiple

                      3 discussions with journalists (including California-based McClatchy) 3 in the days and

                      4 weeks before those same journalists published stories based on the stolen documents.

                      5 (June 11, 2018 Declaration of Lee S. Wolosky (“1 Wolosky Decl.”), ¶¶ 12-15 & n.1,

                      6 ECF No. 90-1; see also 2 Wolosky Decl. Exhs. 1 and 3.) Muzin also displayed

                      7 foreknowledge of press reports about Broidy. (FAC ¶¶ 131-135, 138.)
L L P




                      8           In a series of conversations with Joel Mowbray, an acquaintance of both Muzin
                      9 and Broidy, Muzin further admitted the moving defendants’ involvement in the illegal
F L E X N E R




                     10 scheme. (See FAC ¶¶ 10-13, 133-37.) Indeed, when Mowbray directly accused

                     11 Muzin of targeting Broidy on Qatar’s orders and assisting in the attacks against

                     12 Broidy, Muzin responded, “I was doing my job.” (Id. ¶ 137.) Muzin also admitted
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                     13 that Qatar was targeting both Broidy and Mowbray (who also had criticized Qatar),

                     14 telling Mowbray that “everyone I ‘fingered’ for Qatar was ‘in danger,’” and warning

                     15 that “Broidy needed ‘to be very careful’ [because] the State of SOQ is ‘going after
B O I E S




                     16 you,’” and “Honestly, I know they’re after you and Broidy.” (Id. ¶ 136.)4

                     17                                     LEGAL STANDARD
                     18           Plaintiffs incorporate by reference the general discussion of the relevant legal
                     19 standard for a motion to dismiss under Rule 12(b)(1) and for lack of personal

                     20 jurisdiction set forth in their Opposition to Qatar’s Motion to Dismiss, (ECF No. 133

                     21 at 5-6), including the standard for limited jurisdictional discovery, (id. 23-24).

                     22 In addition, in deciding a motion to dismiss under Rule 12(b)(6), a court should

                     23 “assume the[] veracity” of “well pleaded factual allegations” and “determine whether

                     24 they plausibly give rise to an entitlement to relief.” Ashcroft v. Iqbal, 556 U.S. 662,

                     25
                          3
                              See Contact McClatchy, McClatchy, http://www.mcclatchy.com/contact (last
                     26 visited July 23, 2018).
                          4
                     27  Ongoing discovery has provided corroborative evidence that the moving
                        defendants were involved in the conspiracy against Plaintiffs. (See 2 Wolosky
                     28 Decl., Exh. 1 at 3, 5.) Thus, at a minimum this Court should permit the Plaintiffs to
                        engage in jurisdictional discovery and/or amend the FAC.
                                                                    3                  Case No. 18-cv-02421-JFW
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                      1 679 (2009). “Rule 8(a) ‘does not impose a probability requirement at the pleading

                      2 stage; it simply calls for enough fact[s] to raise a reasonable expectation that

                      3 discovery will reveal evidence’ to support the allegations.” Starr v. Baca, 652 F.3d

                      4 1202, 1217 (9th Cir. 2011) (citing Bell Atlantic Corp. v. Twombly, 550 U.S. 554, 556

                      5 (2007)). “If there are two alternative explanations, one advanced by defendant and the

                      6 other advanced by plaintiff, both of which are plausible, plaintiff’s complaint survives

                      7 a motion to dismiss under Rule 12(b)(6).” Starr, 652 F.3d at 1216.
L L P




                      8                                        ARGUMENT
                      9 I.      THIS COURT HAS SUBJECT MATTER JURISDICTION.
F L E X N E R




                     10         As explained in Plaintiffs’ opposition to Qatar’s motion to dismiss, Qatar is not
                     11 entitled to sovereign immunity under the Foreign Sovereign Immunities Act (“FSIA”)

                     12 (ECF No. 133 at 6-19.) As a result, the moving defendants cannot claim derivative
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                     13 sovereign immunity. Even if Qatar were entitled to immunity, the moving defendants

                     14 could not claim derivative sovereign or diplomatic agent immunity.

                     15         A.     Derivative Sovereign Immunity Does Not Apply.
B O I E S




                     16         Only a “foreign state” enjoys FSIA immunity. 28 U.S.C. § 1604. That term
                     17 encompasses a “political subdivision” of a foreign state or an “agency or

                     18 instrumentality” thereof. 28 U.S.C. § 1603(a). Because they are not “organs” of a

                     19 foreign state or political subdivisions thereof, or entities that are majority-owned by a

                     20 foreign state, the moving defendants are neither a political subdivision nor an “agency

                     21 or instrumentality” of Qatar. 28 U.S.C. § 1603(b)(2). See also Samantar v. Yousuf,

                     22 560 U.S. 305, 315 (2010) (“The Act specifies that a foreign state ‘includes a political

                     23 subdivision or an agency or instrumentality’ of that state, §1603(a), and specifically

                     24 delimits what counts as an ‘agency or instrumentality.’”). The moving defendants are

                     25 not organs of Qatar: they are not owned by Qatar, are not run by Qatari government

                     26 employees, their employees are not Qatari civil servants, and they do not exercise any

                     27 regulatory authority. See Patrickson v. Dole Food Co., 251 F.3d 795, 807-08 (9th Cir.

                     28 2001). Moreover, Muzin cannot enjoy FSIA immunity because no “individual”
                                                                  4                  Case No. 18-cv-02421-JFW
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                      1 enjoys immunity under the FSIA. Samantar, 560 U.S. at 315.

                      2            The moving defendants’ case law is inapposite. Yearsley v. W.A. Ross Const.
                      3 Co., 309 U.S. 18 (1940), is irrelevant because it predates the FSIA and does not

                      4 involve foreign sovereign immunity (instead, it addresses immunity for a U.S.

                      5 contractor who performed work for the U.S. government pursuant to an Act of

                      6 Congress). Id. at 19.5 Both Alicog v. Kingdom of Saudi Arabia, 860 F. Supp. 379

                      7 (S.D. Tex. 1994), and Butters v. Vance Int’l, Inc., 225 F.3d 462 (4th Cir. 2000),
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                      8 predate Samantar, which makes clear that foreign sovereign immunity must be

                      9 interpreted strictly within the language of the FSIA. See Samantar, 560 U.S. at 315-
F L E X N E R




                     10 19. Butters also addressed “a foreign sovereign’s decision as to how best to secure the

                     11 safety of its leaders,” an activity that was “quintessentially an act peculiar to

                     12 sovereigns.” Butters, 225 F.3d at 465. The activities alleged here (whether
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                     13 characterized as “lobbying” or a cyberattack) are not “peculiar to sovereigns.” See

                     14 Universal Trading & Inv. Co, Inc. v. Bureau of Representing Ukrainian Interest in

                     15 Int’l and Foreign Courts, 727 F.3d 10, 23 (1st Cir. 2013).
B O I E S




                     16            The moving defendants acknowledge that they are statutory FARA agents.6
                     17 (Br. 5.) Their assertions of immunity therefore must fall within the parameters of

                     18 FARA and the FSIA. Samantar controls the extension of sovereign immunity beyond

                     19 “foreign states” as defined in the FSIA. Although Samantar concerned the

                     20 applicability of the FSIA to individuals, the Court notably observed that “[t]he Act

                     21 specifies that a foreign state ‘includes a political subdivision or an agency or

                     22 instrumentality’ of that state, §1603(a), and specifically delimits what counts as an

                     23 ‘agency or instrumentality.’” Id. at 315 (emphasis added). As discussed above, the

                     24
                          5
                              Similarly, Cunningham v. Gen. Dynamics Info. Tech., Inc., 888 F.3d 640 (4th Cir.
                     25 2018) also deals with a U.S. government contractor, not FARA or the FSIA.
                          6
                     26  The moving defendants’ agreement with Qatar further belies their claim to
                        immunity, since they are “not authorized by This Agreement to act as a[n] . . . agent
                     27 on behalf of the Embassy or the State of Qatar in any meeting or communication
                        with any person . . . . This Agreement is not intended to establish an employer-
                     28 employee relationship, or principal-agent relationship.”
                        https://www.fara.gov/docs/6458-Exhibit-AB-20170903-1.pdf.
                                                                    5                  Case No. 18-cv-02421-JFW
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                      1 moving defendants do not satisfy this definition.

                      2            Samantar also held that where, as here, no “Suggestion of Immunity” has been
                      3 entered by the State Department with respect to a person or entity seeking immunity,

                      4 the Court should look to “whether the ground of immunity is one which it is the

                      5 established policy of the [State Department] to recognize.” Samantar, 560 U.S. at 312

                      6 (quoting Republic of Mexico v. Hoffman, 324 U.S. 30, 36 (1945)). Here, State

                      7 Department policy is clear that “U.S. nationals, legal permanent residents, or who are
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                      8 permanently resident in the United States enjoy no personal inviolability or

                      9 jurisdictional immunity in the United States.” United State Department of State’s
F L E X N E R




                     10 Office of Foreign Missions, “Diplomatic and Consular Immunity: Guidance for Law

                     11 Enforcement and Judicial Authorities,” 12 (2015),

                     12 https://www.state.gov/documents/organization/150546.pdf (emphasis added).7 This
S C H I L L E R




                     13 precludes any claim by Muzin, a citizen of the U.S., or Stonington, a Delaware

                     14 corporation, of derivative sovereign immunity under FSIA.

                     15            Derivative sovereign immunity also does not apply here because the FSIA does
B O I E S




                     16 not extend to actions “based upon a commercial activity carried on in the United

                     17 States by the foreign state[.]” 28 U.S.C. § 1605(a)(2). “Transactions between strictly

                     18 governmental entities and commercial enterprises are covered by the commercial

                     19 activity exception if the role of the sovereign is one which might be played by a

                     20 private actor.” Joseph v. Office of Consulate General of Nigeria, 830 F.2d 1018, 1024

                     21 (9th Cir. 1987); see also Holden v. Canadian Consulate, 92 F.3d 918, 920 (9th Cir.

                     22 1996) (“[A] foreign state is not immune if the plaintiff’s cause of action is based upon

                     23 a commercial activity carried on by the foreign state.”). Qatar’s relationship with the

                     24 moving defendants is commercial in nature.8

                     25
                          7
                              Plaintiffs have moved this Court to seek a Statement of Interest from the State
                     26 Department regarding the moving defendants’ claims for immunity. ECF Nos. 169

                     27
                        at 1, 169-1 at 4-5.__
                          8
                         Although the FSIA does not explicitly define “commercial activity,” in this context
                     28 the Ninth Circuit has “adopt[ed] the standard suggested by the legislative history,
                        that is, employment of diplomatic, civil service or military personnel is
                                                                    6                  Case No. 18-cv-02421-JFW
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                      1         The moving defendants cite the pre-FSIA decision in Heaney v. Gov’t of Spain,
                      2 445 F.2d 501 (2d Cir. 1971), for the proposition that their activities are “‘political or

                      3 public acts’ long afforded FSIA immunity.” (Br. 6.) But Heaney’s holding that “a

                      4 contract made by a government for a public purpose . . . is not ‘commercial activity’”

                      5 has been superseded by the FSIA, and “the definition of ‘commercial activity’ has

                      6 been concomitantly expanded to include such contracts.” Tex. Trading & Mill. Corp.

                      7 v. Fed. Republic of Nigeria, 647 F.2d 300, 310 n. 27 (2d Cir. 1981), overruled on
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                      8 other grounds by Frontera Resources Azerbaijan Corp. v. State Oil Co. of Azerbaijan

                      9 Republic, 582 F.3d 393 (2d Cir. 2009). In any event, hacking computers and
F L E X N E R




                     10 disseminating stolen materials9 is far removed from the public relations campaign at

                     11 issue in Heaney.

                     12         B.    Moving Defendants Are Not “Diplomatic Agents.”
S C H I L L E R




                     13         The moving defendants are U.S. lobbyists who are not entitled to diplomatic
                     14 agent immunity under the Vienna Convention on Diplomatic Relations (“VCDR”),

                     15 Apr. 18, 1961, 23 U.S.T. 3227. (Br. 6-7.) A “diplomatic agent” is narrowly defined
B O I E S




                     16 under the Convention as “the head of the mission or a member of the diplomatic staff

                     17 of the mission.” VCDR, art. 1(e); see also Transnational Litigation § 29:90 (“The

                     18 definition of a ‘diplomatic agent’ under the Vienna Convention is limited, in that it

                     19 relates to ‘the head of the mission or a member of the diplomatic staff of the

                     20 mission.’” (emphasis added)). “Diplomatic staff” includes only “the members of the

                     21 staff of the mission having diplomatic rank.” VCDR, art. 1(d). “Members of the

                     22 diplomatic staff of the mission may not be appointed from among persons having the

                     23
                          governmental and the employment of other personnel is commercial.” Holden, 92
                     24 F.3d at 921 (emphasis added). There is “a per se rule that Americans and third
                          country nationals, even if employed by a foreign state[, are] commercial
                     25 employees.” El-Hadad v. United Arab Emirates, 496 F.3d 658, 667 (D.C. Cir.
                        2007).
                     26 9
                          Such practices have become all too common. Richard Minter, What’s the
                     27 best way to get back at Russian hackers? Lawsuits, The New York Post,
                        https://nypost.com/2018/07/19/whats-the-best-way-to-get-back-at-russian-
                     28
                        hackers-lawsuits/ (last visited July 23, 2018).
                                                                 7                  Case No. 18-cv-02421-JFW
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                      1 nationality of the receiving State, except with the consent of that State which may be

                      2 withdrawn at any time.” VCDR, art. 8(2). Notice of “the appointment of members of

                      3 the mission [and] their arrival” also must be provided to the receiving State. VCDR,

                      4 art. 10(a); see also Vulcan Iron Works, Inc. v. Polish Am. Machinery Corp., 479 F.

                      5 Supp. 1060, 1067 (S.D.N.Y. 1979) (rejecting putative “notification” of the

                      6 appointment of a diplomatic agent when the communication (1) did not purport to be

                      7 “notification” of appointment of a diplomatic agent and (2) the State Department had
L L P




                      8 not indicated it had been notified of such an appointment). In addition, a “diplomatic

                      9 agent shall not in the receiving State practise for personal profit any professional or
F L E X N E R




                     10 commercial activity.” VCDR, art. 42.

                     11        The moving defendants do not satisfy these strict requirements. They do not
                     12 head the Qatari mission in the U.S., are not members of the staff of the mission with
S C H I L L E R




                     13 diplomatic rank, and have not had credentials presented to the U.S. Department of

                     14 State, a prerequisite to immunity under the Vienna Convention. There is no evidence

                     15 that the U.S. has given consent for U.S. citizen Muzin or Delaware corporation
B O I E S




                     16 Stonington Strategies (FAC ¶¶ 20-21), to be members of Qatar’s diplomatic staff in

                     17 the U.S., see VCDR, art. 8(2). Nor is there evidence that Qatar notified the U.S. of

                     18 their “arrival.” See Vulcan, 479 F. Supp. at 1067. See also Athridge v. Aetna Cas. &

                     19 Sur. Co., 163 F. Supp. 2d 38, 56 (D.D.C. 2001) (VCDR protections only extend to

                     20 those “not permanently resident in the United States”), aff’d in part, rev’d in part, 351

                     21 F.3d 1166 (D.C. Cir. 2003). In addition, the moving defendants engage in commercial

                     22 enterprises for profit in the U.S. (FAC ¶¶ 20, 63, 73), contravening the VCDR’s

                     23 restrictions on such activities for diplomatic agents, VCDR, art. 42.

                     24        FARA registration does not fulfill the notice requirement for diplomatic agent
                     25 immunity. FARA registration is made with the Department of Justice, not the

                     26 Department of State. More importantly, FARA specifically states that it “shall not

                     27 apply to . . . [a] duly accredited diplomatic or consular officer of a foreign government

                     28 who is so recognized by the Department of State, while said officer is engaged
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                      1 exclusively in activities that are recognized by the Department of State as being within

                      2 the scope of the functions of such officer[.]” 22 U.S.C. § 613(a) (emphasis added).

                      3 FARA thus does not confer diplomatic immunity upon a registrant. Registration was

                      4 required of the moving defendants because they were not diplomatic agents.

                      5          The cases cited by the moving defendants are inapposite. Palestine Info. Office
                      6 v. Shultz, 853 F.2d 932, 938-39 (D.C. Cir. 1988), did not address diplomatic

                      7 immunity. Rather, the court affirmed the constitutionality of the State Department’s
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                      8 designation of the Palestinian Information Office as a “foreign mission” of the

                      9 Palestine Liberation Organization (“PIO”) under the Foreign Missions Act, 22 U.S.C.
F L E X N E R




                     10 § 4301 et seq., which designation permitted the State Department to order the closure

                     11 of the PIO. Here, there has been no such “foreign mission” designation by the State

                     12 Department. The decision in In re Grand Jury Subpoenas Returnable Dec. 16, 2015,
S C H I L L E R




                     13 871 F.3d 141, 145 (2d Cir. 2017), actually undermines Stonington’s argument. That

                     14 court rejected a diplomatic immunity defense because, although a group application

                     15 for visas went to the State Department, those visas were issued to “a broad range of
B O I E S




                     16 persons,” “including those who enjoy no privileges and immunities in the United

                     17 States,” and thus failed to give the State Department notice of “who should be entitled

                     18 to diplomatic immunity.” Id. at 150. Those visa applications are analogous to

                     19 registration under FARA: they both provide notice of a contractual relationship to the

                     20 State Department, but do not provide notice that an individual is “entitled to

                     21 diplomatic immunity,” a prerequisite for individuals to claim such immunity. Id.

                     22 II.      THE MOVING DEFENDANTS ARE SUBJECT TO PERSONAL
                     23          JURISDICTION IN THIS DISTRICT.
                     24          Where a complaint alleges tort claims, the Ninth Circuit employs the
                     25 “purposeful direction” test in determining personal jurisdiction. See Axiom Foods,

                     26 Inc. v. Acerchem Int’l, Inc., 874 F.3d 1064, 1069 (9th Cir. 2017). Under that test,

                     27 which derives from Calder v. Jones, 465 U.S. 783 (1984), a defendant is subject to

                     28 personal jurisdiction where he “(1) committed an intentional act, (2) expressly aimed
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                      1 at the forum state, (3) causing harm that the defendant knows is likely to be suffered

                      2 in the forum state.” Axiom, 874 F.3d at 1069 (citation omitted). Thus, “when a

                      3 defendant engages in tortious activity toward a plaintiff in the state where that

                      4 plaintiff resides, the defendant is subject to personal jurisdiction there.” Morrill v.

                      5 Scott Financial Corp., 873 F.3d 1136, 1148 (9th Cir. 2017) (citing Brainerd v.

                      6 Governors of the University of Alberta, 873 F.2d 1257, 1258-60 (9th Cir. 1989)).

                      7        The FAC alleges that the Defendants – including the moving defendants –
L L P




                      8 targeted Broidy in this District because of his outspoken criticism of Qatar and the

                      9 fact that when President Trump in June 2017 announced his support of the embargo
F L E X N E R




                     10 of Qatar, he publicly identified Broidy. (Id. ¶¶ 4, 27, 79-80, 91, 137; 2 Wolosky

                     11 Decl. Exh. 2.) The FAC alleges that the moving defendants targeted Broidy for

                     12 Qatar and that Muzin admitted he was “just doing [his] job” in connection with the
S C H I L L E R




                     13 hacks on Plaintiffs’ computer servers and email accounts in California and

                     14 subsequent media leaks, including to outlets with substantial presences in California.

                     15 (See FAC ¶¶ 11-12, 131-38.) The FAC also alleges that the moving defendants
B O I E S




                     16 deliberately caused harm to Plaintiffs through dissemination to the national media of

                     17 materials stolen from those servers and accounts. (See, e.g., FAC ¶¶ 7, 14-15, 35,

                     18 40, 91-93, 112, 115, 117, 121-22, 126, 128-29, 137, 157, 233; see also Friedman

                     19 Decl., ¶ 25.) This is precisely the type of “individualized targeting” that the Ninth

                     20 Circuit has held satisfies the express aiming requirement of Calder and its progeny.

                     21 Axiom, 874 F.3d at 1071.

                     22        The moving defendants argue that the allegations of the FAC do not satisfy
                     23 the requirements of Walden v. Fiore, 571 U.S. 277 (2014), which requires that a

                     24 foreign defendant’s suit-related conduct create a substantial connection with the

                     25 forum state. (Br. 9-10.) In making this argument, they rely on Axiom, 874 F.3d

                     26 1064, which found that under Walden the Court did not have jurisdiction over

                     27 foreign defendants who allegedly violated plaintiffs’ copyrights in newsletters that

                     28 went to “no more than ten” residents of California, id. at 1070. (Br. 9.) This
                                                                10                 Case No. 18-cv-02421-JFW
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                      1 argument ignores Axiom’s express comparison of the limited contacts defendants

                      2 had with California with the defendants’ contacts in Calder, 465 U.S. at 784-86,

                      3 788-89, which held that out-of-state defendants could be subject to personal

                      4 jurisdiction in California where defendants used California sources and media as a

                      5 weapon and, as here, California plaintiffs suffered reputation-based effects in

                      6 California:

                      7        Calder is instructive to show how different the facts are in this case. In
                               Calder, a California actress brought a libel action against two
L L P




                      8        nonresident defendants in California state court, based on an article
                               defendants wrote for the National Enquirer. The Supreme Court found
                      9        the defendants’ “forum contacts to be ample.” The defendants
F L E X N E R




                               contacted “California sources” for information and wrote about the
                     10        actress’s activities in California. Roughly 600,000 copies of the article
                               were sold in California, where the actress suffered the “brunt” of the
                     11        reputational injury. In short, “[t]he crux of Calder was that the
                               reputation-based ‘effects’ of the alleged libel connected the defendants
                     12        to California, not just to the plaintiff.” In this case, Acerchem UK sent
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                               one newsletter to a maximum of ten recipients located in California, in
                     13        a market where Acerchem UK has no sales or clients. The alleged
                               infringement barely connected Acerchem UK to California residents,
                     14        much less to California itself.
                     15        This case is similar to Calder. Here, the conspiracy in which the moving
B O I E S




                     16 defendants participated ensured that hundreds of thousands, if not millions, of

                     17 California residents received reports of Plaintiffs’ stolen materials. See supra, at

                     18 page 2. In addition, discovery has shown that Muzin had numerous contacts during

                     19 pertinent periods with publications circulated in California that published articles

                     20 about Broidy, including McClatchy, the New York Times, the Associated Press, and

                     21 Bloomberg News. (1 Wolosky Decl. ¶ 11.)

                     22        Just as the Calder defendants “contacted ‘California sources’ for information
                     23 and wrote about the actress’s activities in California,” Axiom, 874 F.3d at 1071

                     24 (citing Calder, 465 U.S. 788-90), the moving defendants and their co-conspirators

                     25 obtained information from “sources” in California – computer servers and email

                     26 accounts located in California (FAC ¶¶ 115, 128) – that had been hacked with the

                     27 moving defendants’ knowledge and approval (id. ¶¶ 134, 136-37). The moving

                     28 defendants took the information obtained from those sources and, through unlawful
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                      1 dissemination of those materials to the national media, sent it back en masse to

                      2 California residents in an effort to neutralize the First Amendment rights of

                      3 California resident Broidy. (See id. ¶¶ 9, 14, 35, 91, 92, 126, 128-29.)10

                      4            The case for personal jurisdiction is stronger here than in Calder. Defendants
                      5 in Calder were subject to personal jurisdiction in California where they could only

                      6 “foresee that the article will be circulated and have an effect in California.” Calder,

                      7 465 U.S. at 789. Here, the moving defendants did not merely “foresee” massive
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                      8 distribution by the media in California of Plaintiffs’ stolen information and

                      9 “reputation-based” harm, Calder, 874 F.3d 1071, to Plaintiffs in California – that
F L E X N E R




                     10 result is alleged to have been their specific intent. As discussed supra at pages 2-3

                     11 and 11, the FAC alleges that the moving defendants acknowledged their intent was

                     12 to harm Broidy. (FAC ¶¶ 136-37; see also id. ¶¶ 88, 910.) The FAC also alleges the
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                     13 involvement of the moving defendants in disseminating the stolen materials to the

                     14 press. (FAC ¶¶ 131, 134-35, 138.)

                     15            In contrast to the moving defendants, none of the out-of-state defendants in
B O I E S




                     16 Calder had significant contacts with California. Calder, 465 U.S. at 786.

                     17 Nonetheless, the Supreme Court found unanimously that “[a]n individual injured in

                     18 California need not go to Florida to seek redress from persons who, though

                     19 remaining in Florida, knowingly cause[d] the injury in California.” Calder, 465

                     20 U.S. at 790. This holding remains the law in the Ninth Circuit. See Axiom, 874 F.3d

                     21 at 1069, 1070-71.

                     22            The moving defendants also cannot succeed by asserting that the sole basis of
                     23 personal jurisdiction over them is a conspiracy allegation. The FAC contains

                     24 multiple allegations that the moving defendants were directly involved in preparing

                     25 and distributing documents stolen from Plaintiffs to the mass media in an effort to

                     26

                     27   10
                               In any event, the Court should permit further jurisdictional discovery to determine
                     28 the extent of the moving defendants’ use of media entities with a California presence
                          to harm Plaintiffs. See Wolosky Decl., ¶¶ 12-15 & n.1.
                                                                    12                 Case No. 18-cv-02421-JFW
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                      1 cause Broidy specific harm in California. (See FAC ¶¶ 129 (“[T]he Agent

                      2 Defendants also carried out that conspiracy and unlawfully accessed Plaintiffs’

                      3 private communications . . . and further engaged in distribution of that information

                      4 to media outlets.”); 131-32; compare FAC ¶ 13 (“On March 5, 2018, Defendant

                      5 Muzin informed Mowbray that there was ‘more stuff coming’ from the New York

                      6 Times”), with ¶ 138 (describing the March 22nd and 26th New York Times articles

                      7 “rely[ing] on ‘[h]undreds of pages of Mr. Broidy’s emails, proposals and contracts,”
L L P




                      8 “as foretold by Defendant Muzin on March 5th”).)

                      9           Finally, although the moving defendants are alleged to have acted directly
F L E X N E R




                     10 against Plaintiffs, not merely in conspiracy against them, the conspiracy allegations

                     11 here would be sufficient to confer personal jurisdiction. The Ninth Circuit has never

                     12 addressed whether the conspiracy theory of personal jurisdiction applies. In any
S C H I L L E R




                     13 event, Plaintiffs do not claim ties to California that rest merely on personal

                     14 jurisdiction over a co-conspirator. Rather, Plaintiffs allege that the moving

                     15 defendants’ actions in the conspiracy were directed at California. (FAC ¶¶ 126, 128-
B O I E S




                     16 29.) As discussed above, the conspiracy allegations against the moving defendants

                     17 allege purposeful direction towards California under Calder, and the specific

                     18 California-specific contacts required by Walden are satisfied by the direct targeting

                     19 of Plaintiffs in California and use of California resources to harm them.11

                     20 III.      THE FAC STATES CLAIMS AGAINST THE MOVING
                     21           DEFENDANTS.
                     22           A.     The FAC Is Not A “Shotgun Pleading.”
                     23           The moving defendants repeatedly invoke the phrase “shotgun pleading,”
                     24 arguing that the FAC simply incorporates by reference claims made against all

                     25 defendants. (Br. 13-14.) But complaints that allege facts describing individual

                     26 defendants’ roles in an overarching conspiracy provide sufficient notice to

                     27
                          11
                            At a minimum, Plaintiffs request an opportunity to amend in order to incorporate
                     28
                          additional allegations based on Plaintiffs’ discovery efforts.
                                                                    13                 Case No. 18-cv-02421-JFW
                               PLAINTIFFS’ MPA IN OPPOSITION TO STONINGTON DEFENDANTS’ MOTION TO DISMISS
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                      1 defendants even when those complaints assert every claim against every defendant.

                      2 Almont Ambulatory Surgery Center, LLC v. UnitedHealth Group, Inc., No. CV 14-

                      3 03053 MWF(VBKx), 2015 WL 12777092 at *5-6 (C.D. Cal. Oct. 23, 2015). It is

                      4 not improper to incorporate by reference each previous paragraph, particularly where

                      5 the allegations are interrelated. Id. at *5.

                      6        Moreover, the FAC contains numerous allegations specific to the moving
                      7 defendants, including specific allegations that Muzin admitted targeting Broidy for
L L P




                      8 Qatar (FAC ¶¶ 11-12, 136-37), admitted culpability for the hacks and dissemination

                      9 of Broidy’s stolen documents and materials (id. ¶¶ 11-12, 131-38), and received a
F L E X N E R




                     10 six-fold increase in compensation for his role in the attacks (id. 90). This is not

                     11 “shotgun pleading.” Indeed, the moving defendants are specifically mentioned

                     12 throughout the FAC (see id. ¶¶ 9-13, 62-71, 73, 78, 80-82, 84-85, 87-91, 101-102,
S C H I L L E R




                     13 122, 128, 131-138), including in the allegations against the Agent Defendants (see

                     14 id. ¶¶ 8, 92-93, 126, 128-30, 139). In addition, each of Plaintiffs’ causes of action

                     15 includes additional count-specific factual allegations. (See id. ¶¶ 140-238.)
B O I E S




                     16        The FAC is substantively distinct from the complaints in the cases cited by the
                     17 moving defendants. See Vibe Micro, Inc. v. Shabanets, 878 F.3d 1291, 1294 (11th

                     18 Cir. 2018) (describing a complaint with “duplicative” allegations that “contain

                     19 labeling and numerical inconsistencies” that “fail[ed] to fail to provide even minimal

                     20 notice to the individual Defendants as to what conduct they are alleged to have

                     21 participated in”); Inman v. Anderson, 294 F. Supp. 3d 907, 919 (N.D. Cal. 2018)

                     22 (noting that the allegations in two causes of action, although directed against all

                     23 defendants, involved actions taken exclusively by one individual); Heejoon Chung v.

                     24 U.S. Bank, N.A., 250 F. Supp. 3d 658, 678 (D. Haw. 2017) (defining the practice of

                     25 “puzzle pleading” it rejects as “a complaint that forces the defendants or court to sort

                     26 out the alleged statements and match them with the corresponding adverse facts to

                     27 solve the puzzle of interpreting Plaintiff’s claims”); Zinzuwadia v. Mortg. Elec.

                     28 Registration Sys., Inc., No. 2:12-CV-02281, 2012 WL 6737837, at *7 (E.D. Cal.
                                                                14                 Case No. 18-cv-02421-JFW
                           PLAINTIFFS’ MPA IN OPPOSITION TO STONINGTON DEFENDANTS’ MOTION TO DISMISS
                  Case 2:18-cv-02421-JFW-E Document 171 Filed 07/23/18 Page 24 of 34 Page ID #:3002



                      1 Dec. 28, 2012) (noting that, “[a]side from a few defendant-specific allegations, the

                      2 remainder of the complaint . . . mak[es] it impossible to discern which allegations

                      3 are targeted against which defendants”).

                      4            B.    Plaintiffs Have Alleged the Moving Defendants’ Involvement In
                      5                  The Conspiracy To Hack Plaintiffs’ Computers.
                      6            The moving defendants argue that Counts I, II, IV, VI, and VI fail because the
                      7 FAC fails to allege that they were involved in the unlawful hacking of Plaintiffs’
L L P




                      8 computer systems. (Br. 14-18.) But the FAC alleges that Muzin “fingered” Broidy

                      9 to Qatar as someone who “didn’t like them too much,” and admitted that such
F L E X N E R




                     10 targeting placed Broidy “in danger.” (FAC ¶ 11.) The FAC further alleges that

                     11 Defendants, including the moving defendants, targeted Broidy because of his

                     12 outspoken criticism of Qatar (id. ¶ 91), and that the moving defendants conspired
S C H I L L E R




                     13 with other Defendants from within the U.S. to hack Plaintiffs’ computer systems and

                     14 disseminate stolen documents to media organizations. (Id. ¶¶ 7, 9, 14-15, 35, 40, 91-

                     15 93, 112, 115, 117, 121-22, 126, 128-29, 137, 157, 233.) The FAC also alleges that
B O I E S




                     16 the moving defendants were used by Qatar to funnel funds to others involved in the

                     17 attack (id. ¶¶ 9, 90), and that when confronted about his involvement in the hacking,

                     18 Muzin admitted that he was “doing [his] job,” (id. ¶ 137).

                     19                  1.     Counts I and II of the FAC State Claims Under the Computer
                     20                         Fraud and Abuse Act (“CFAA”) and the California
                     21                         Comprehensive Computer Data Access and Fraud Act
                     22                         (“CDAFA”).
                     23            The moving defendants also argue that Plaintiffs’ CFAA and CDAFA claims
                     24 fail because those statutes purportedly do not extend liability to those who assist

                     25 hackers. (Br. 14-15.) But the CFAA extends liability to those who conspire to

                     26 violate the statute. See 18 U.S.C. § 1030(b).12 The cases cited by the moving

                     27

                     28   12
                               At a minimum, Plaintiffs respectfully request leave to amend the FAC to allege a
                                                                    15                 Case No. 18-cv-02421-JFW
                               PLAINTIFFS’ MPA IN OPPOSITION TO STONINGTON DEFENDANTS’ MOTION TO DISMISS
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                      1 defendants are not to the contrary. See Agilysys, Inc. v. Hall, 258 F. Supp. 3d 1331,

                      2 1344 (N.D. Ga. 2017) (noting that a claim under § 1030(b) may be brought where

                      3 there is “evidence of an agreement and common activities in furtherance of the

                      4 unlawful act”); Flynn v. Liner Grode Stein Yankelevitz Sunshine Regenstreif &

                      5 Taylor LLP, No. 3:09-CV-00422-PMP-RAM, 2011 WL 2847712, at *3 (D. Nev.

                      6 July 15, 2011) (the CFAA extends liability to “a co-conspirator of a primary

                      7 violator”). And Power Equipment Maintenance, Inc. v. AIRCO Power Servs., Inc.,
L L P




                      8 953 F. Supp. 2d 1290 (S.D. Ga. 2013) did not address vicarious liability, but

                      9 dismissed a CFAA claim where the complaint did not allege that the defendants
F L E X N E R




                     10 exceeded their authority in obtaining materials from their employer’s computer. Id.

                     11 at 1296-97. See also Tracfone Wireless, Inc. v. Simply Wireless, Inc., 229 F. Supp.

                     12 3d 1284, 1296 (S.D. Fla. Jan. 26, 2017) (rejecting motion to dismiss a claim for
S C H I L L E R




                     13 aiding and abetting a CFAA violation).

                     14           Similarly, the CDAFA specifically creates liability for those who either
                     15 provide a means of accessing a computer or assist in providing a means of accessing
B O I E S




                     16 a computer in violation of the statute. Cal. Penal Code § 502(c)(6), (13).13 The

                     17 moving defendants do not cite any cases to the contrary. Consistent with this law,

                     18 and as explained in detail above, see Section III.B, the FAC alleges that the moving

                     19 defendants directly violated the CDAFA by assisting in the hacks and conspired with

                     20 the other Defendants to violate both statutes.

                     21

                     22

                     23 conspiracy to violate the CFAA under 18 U.S.C. § 1030(b).
                          13
                     24      Throughout its brief, the moving defendants disassociate conspiracy and vicarious
                          liability. However, under California law civil conspiracy is not an independent
                     25   cause of action, but “a means for establishing vicarious liability for the underlying
                          tort.” Mattel, Inc. v. MGA Entertainment, Inc., No. CV 04-9049 DOC (RNBx),
                     26   2010 WL 11463911, at *3 (C.D. Cal. Sept. 3, 2010) (citing Halberstam v. Welch,
                          705 F.2d 472, 479 (D.C. Cir. 1983)). Plaintiffs allege that Defendants are liable for
                     27   conspiring to breach all of the duties and violate all of the statutes asserted in all of
                          Plaintiffs’ causes of action. (See FAC ¶¶ 228-238.) Thus Plaintiffs’ conspiracy
                     28   theory renders the moving defendants vicariously liable as to all state law causes of
                          action.
                                                                    16                 Case No. 18-cv-02421-JFW
                               PLAINTIFFS’ MPA IN OPPOSITION TO STONINGTON DEFENDANTS’ MOTION TO DISMISS
                  Case 2:18-cv-02421-JFW-E Document 171 Filed 07/23/18 Page 26 of 34 Page ID #:3004



                      1               2.    Count IV of the FAC States a Claim For Intrusion Upon
                      2                     Seclusion.
                      3        The moving defendants also argue that even if the FAC pleads only secondary
                      4 liability for intrusion upon seclusion, liability cannot attach under such

                      5 circumstances. (Br. 15.) This is incorrect. A plaintiff establishes secondary liability

                      6 for intrusion upon seclusion when he or she shows that a defendant (1) “knew [a

                      7 third party’s] conduct constituted a breach of duty and gave substantial assistance or
L L P




                      8 encouragement to [that third party] to so act” or (2) “gave substantial assistance to [a

                      9 third party] in accomplishing the [intrusion upon seclusion], and [the defendant’s]
F L E X N E R




                     10 own conduct, separately considered, constituted a breach of the duty to [the

                     11 plaintiff].” Opperman v. Path, Inc., 84 F. Supp. 3d 962, 985, 993 (N.D. Cal. 2015).

                     12 The FAC pleads that the moving defendants orchestrated the hacks on Plaintiffs’
S C H I L L E R




                     13 computer systems and that Muzin admitted to such conduct. See Section III.B.

                     14 Such allegations are sufficient to cover either primary or secondary liability for

                     15 intrusion upon seclusion.
B O I E S




                     16               3.    Count VI of the FAC Properly States a Claim Under the Stored
                     17                     Communications Act (“SCA”).
                     18        The moving defendants similarly incorrectly argue that there is no vicarious
                     19 liability under the SCA. (Br. 16.) To the contrary, a plaintiff may bring a claim for

                     20 conspiracy under 18 U.S.C. § 2701(a). See Tyan, Inc. v. Garcia, No. CV 15-05443-

                     21 MWF (JPRx), 2017 WL 1658811, at *14 on (C.D. Cal. May 2, 2017); Vista

                     22 Marketing, LLC v. Burkett, No. 8:12-cv-1640-T-30TBM, 2012 WL 3860435, at *2

                     23 (M.D. Fla. Sept. 5, 2012). The moving defendants rely on Freeman v. DirecTV,

                     24 Inc., 457 F.3d 1001 (9th Cir. 2006) for their contrary argument, but Freeman

                     25 addresses 18 U.S.C. § 2702, a different provision that regulates “a person or entity

                     26 providing an electronic communication service to the public.” The court found no

                     27 vicarious liability in large part because § 2702 is “clear about upon whom [it is]

                     28 imposing liability.” Id. at 1006. In contrast, § 2701(a) imposes liability on
                                                                17                 Case No. 18-cv-02421-JFW
                           PLAINTIFFS’ MPA IN OPPOSITION TO STONINGTON DEFENDANTS’ MOTION TO DISMISS
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                      1 “whoever” violates it, rendering Freeman inapplicable.

                      2        The moving defendants also incorrectly argue that Plaintiffs’ servers are not a
                      3 “facility through which an electronic communication service is provided.” (Br. 16.)

                      4 An “electronic communication service” is “any service which provides to users

                      5 thereof the ability to send or receive wire or electronic communications,” 18 U.S.C.

                      6 § 2510(15), and a company server such as BCM’s here qualifies under this

                      7 definition. See Brown Jordan Int’l, Inc. v. Carmicle, 846 F.3d 1167 (11th Cir. 2017)
L L P




                      8 (email and storage program was a “facility” under the SCA because it “provides the

                      9 ability to send and receive emails”); Brown Jordan Int'l, Inc. v. Carmicle, No. 0:14-
F L E X N E R




                     10 CV-60629, 2014 WL 11350232, at *4 (S.D. Fla. Aug. 29, 2014) (“[t]he general

                     11 consensus of case law considering facilities under the SCA is that servers containing

                     12 information qualify as facilities”); Cornerstone Consultants, Inc. v. Prod. Input
S C H I L L E R




                     13 Solutions, L.L.C., 789 F.Supp.2d 1029, 1050 (N.D. Iowa 2011) (an email server was

                     14 a “facility” under the SCA).

                     15        In contrast, the cases cited by the moving defendants address the applicability
B O I E S




                     16 of the SCA to computers, not computer or email servers. See In re Facebook Internet

                     17 Tracking Litigation, 263 F. Supp. 3d 836, 845-46 (N.D. Cal. 2017); K.F. Jacobsen &

                     18 Co. v. Gaylor, 947 F. Supp. 2d 1120 (D. Or. 2013).

                     19               4.    Count VII of the FAC States a Claim Under the Digital
                     20                     Millennium Copyright Act (“DMCA”).
                     21        The moving defendants’ argument that the type of hacking scheme alleged in
                     22 the FAC is not within the scope of the DCMA also fails because a defendant may be

                     23 vicariously liable for violations of the DMCA when part of a conspiracy to violate

                     24 that statute. See TracFone Wireless, Inc. v. Pak China Group Co., Ltd., 843 F.

                     25 Supp. 2d 1284, 1302-03 (S.D. Fla. 2012) (finding conspiracy to violate the DMCA).

                     26 The “unauthorized distribution of passwords and usernames avoids and bypasses a

                     27 technological measure in violation of” the DMCA. Actuate Corp. v. Int’l Bus.

                     28 Machs. Corp., No. C–09–05892 JCS, 2010 WL 1340519, at *9 (N.D. Cal. 2010).
                                                                18                 Case No. 18-cv-02421-JFW
                           PLAINTIFFS’ MPA IN OPPOSITION TO STONINGTON DEFENDANTS’ MOTION TO DISMISS
                  Case 2:18-cv-02421-JFW-E Document 171 Filed 07/23/18 Page 28 of 34 Page ID #:3006



                      1 Because “[u]nauthorized use of a password may constitute circumvention under the

                      2 DMCA,” id., the spearphishing attack described in the FAC violates the DMCA.

                      3 See Microsoft Corp. v. EEE Business Inc., 555 F. Supp. 2d 1051, 1059 (N.D. Cal.

                      4 2008) (by distributing a license key to unlock software without authorization, the

                      5 defendant “effectively circumvented Microsoft’s technological measure to control

                      6 access to a copyrighted work”); 321 Studios v. MGM Studios, Inc., 307 F. Supp. 2d

                      7 1085, 1098 (N.D. Cal. 2004) (although a company used an “authorized key” to
L L P




                      8 decrypt DVDs, because the company itself lacked authorization to use the key, the

                      9 company “circumvented” the encryption under the DMCA).
F L E X N E R




                     10        The decisions cited by the moving defendants are inapposite, as all involved
                     11 situations where the defendant knowingly was given authorization to use the

                     12 credentials, but that authorization was later revoked. See Ground Zero Museum
S C H I L L E R




                     13 Workshop v. Wilson, 813 F. Supp. 2d 678, 691 (D. Md. 2011) (defendant was

                     14 initially given authorization to use a password before plaintiff revoked that

                     15 authorization); Adobe Sys. Inc. v A&S Electronics, Inc., No. C 15-2288 SBA, 2015
B O I E S




                     16 WL 13022288, at *1 (N.D. Cal. Aug. 19, 2015) (defendant misused an authorized

                     17 license key given to it by plaintiff); I.M.S. Inquiry Management Sys., Ltd. v.

                     18 Berkshire Information Sys., Inc., 307 F. Supp. 2d 521, 527 (S.D.N.Y. 2004)

                     19 (plaintiff gave password to a third-party customer, who wrongfully gave it to the

                     20 defendant). Id. at 527. Here, Defendants were never authorized to use Plaintiffs’

                     21 credentials and Plaintiffs did not knowingly give them away. To the contrary,

                     22 Defendants stole the usernames and passwords. (FAC ¶¶ 93-116.)

                     23        The moving defendants also argue that the FAC fails to allege that Defendants
                     24 hacked copyrighted material. (Br. 17-18.) The Copyright Act includes protections

                     25 for the expression of facts and ideas contained in business plans, presentations,

                     26 proposals, and communications. See Feist Publications, Inc. v. Rural Tel. Serv. Co.,

                     27 499 U.S. 340, 350-51 (1991) (“A factual compilation is eligible for copyright if it

                     28 features an original selection or arrangement of facts”); Proven Methods Seminars,
                                                                19                 Case No. 18-cv-02421-JFW
                           PLAINTIFFS’ MPA IN OPPOSITION TO STONINGTON DEFENDANTS’ MOTION TO DISMISS
                  Case 2:18-cv-02421-JFW-E Document 171 Filed 07/23/18 Page 29 of 34 Page ID #:3007



                      1 LLC v. Am. Grants & Affordable Hous. Inst., LLC, 519 F. Supp. 2d 1057, 1065 (E.D.

                      2 Cal. 2007) (“‘factual compilations’ may possess the requisite originality because

                      3 compilation authors typically choose which facts to include, in what order to place

                      4 them, and how to arrange the collected data so that they may be used effectively by

                      5 readers”). Plaintiffs allege that the materials stolen from them included

                      6 “presentations, proprietary business plans and proposals, and strategic

                      7 correspondence,” (FAC ¶ 195), which are entitled to copyright protection.14
L L P




                      8            The decisions cited by the moving defendants are substantively different. In
                      9 Gaines v. District of Columbia, 961 F. Supp. 2d 218 (D.D.C. 2013), the “business
F L E X N E R




                     10 plan” was simply an idea for advertising placement on lottery tickets. Id. at 223.

                     11 And in Terarecon, Inc. v. Fovia, Inc., No. C 05-4407 CW, 2006 WL 1867734 (N.D.

                     12 Cal. July 2006), the plaintiff itself argued that particular business plans were not
S C H I L L E R




                     13 protected by the Copyright Act in order to avoid the preemption of its common-law

                     14 claims. Id. at *10. Here, Plaintiffs allege that a portion of the stolen materials are

                     15 the product of a creative compilation that lends itself to copyright protection and
B O I E S




                     16 enjoyed Copyright Act protection. (FAC ¶¶ 195, 205, 218.)

                     17            C.    Plaintiffs Have Alleged That the Moving Defendants Received,
                     18                  Possessed, Or Distributed Stolen Emails.
                     19            Stonington asserts that the FAC does not allege that they “received, concealed
                     20 or withheld” Plaintiffs’ stolen materials. (Br. 19.) In fact, the FAC is replete with

                     21 allegations that they received the stolen materials and disseminated them to media

                     22 sources. (See FAC ¶¶ 9 (the moving defendants “conspired with the other

                     23 Defendants from within the United States to organize and disseminate Plaintiffs’

                     24   14
                               The moving defendants incorrectly suggests that Plaintiffs have not alleged that
                     25 the materials stolen were “original” or otherwise protected by copyright. “Original,
                          as the term is used in copyright law, means only that the work was independently
                     26 created by the author (as opposed to copied from other works), and that it possesses
                          at least some minimal degree of creativity.” Feist Publications, Inc. v. Rural
                     27 Telephone Serv. Co., Inc., 499 U.S. 340, 345 (1991). The materials stolen included
                          not just factual documents but business plans and proposals created using those
                     28 facts. (FAC ¶¶ 205, 218.) Additionally, the FAC explicitly pleads that the materials
                          are subject to copyright protection. (Id. ¶ 195.)
                                                                    20                 Case No. 18-cv-02421-JFW
                               PLAINTIFFS’ MPA IN OPPOSITION TO STONINGTON DEFENDANTS’ MOTION TO DISMISS
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                      1 stolen emails to media organizations”), 11-12, 90-92, 91-92, 126, 128-129, 136-137

                      2 (when accused of “targeting Plaintiff Broidy for the State of Qatar and assisting in

                      3 the hacks on Plaintiffs,” Muzin responded “I was doing my job.”) These allegations

                      4 support Plaintiffs’ third, fifth, eighth and ninth causes of action. The moving

                      5 defendants’ other challenges to those causes of action further fail for the reasons set

                      6 forth below.

                      7                1.   Counts III and V of the FAC State Claims for Receipt and
L L P




                      8                     Possession of Stolen Property and Conversion.
                      9        The FAC alleges direct receipt and possession by the moving defendants of
F L E X N E R




                     10 Plaintiffs’ stolen property and conversion of such property through dissemination of

                     11 that property to the media and that the moving defendants are vicariously liable for

                     12 such torts. (See FAC ¶¶ 9, 12, 128-29.) See also Simi Management Corp. v. Bank of
S C H I L L E R




                     13 America Corp., No. C-11-5573-DMR, 2012 WL 1997232, at *6 (N.D. Cal. June 4,

                     14 2012); Media Lab, Inc. v. Collis, No. C08-04732 HRL, 2010 WL 3893582, at *5-6

                     15 (N.D. Cal. Sept. 30, 2010) (granting summary judgment for conspiracy to commit
B O I E S




                     16 conversion).

                     17                2.   Counts VIII and IX of the FAC State Claims Under the
                     18                     California Uniform Trade Secrets Act (“CUTSA”) and the
                     19                     Defend Trade Secrets Act (“DTSA”).
                     20        The moving defendants also argue that heightened pleading applies to the
                     21 allegations of “trade secrets” under CUTSA and DTSA. (Br. 20-21.) No such

                     22 pleading requirement applies. See Meggitt San Juan Capistrano, Inc. v. Nie

                     23 Yongzhong, 575 Fed. Appx. 801, 803 (9th Cir. 2014) (“Appellants cite no state

                     24 authority for the proposition that Meggitt SJC should have identified the particular

                     25 trade secrets at the pleading stage.”) (emphasis in original); Cedars Sinai Medical

                     26 Center v. Quest Diagnostic Inc., No. CV 17-5169-GW(FFMx), 2018 WL 2558388,

                     27 at *3-4 (C.D. Cal. Feb. 27, 2018) (declining to apply a heightened pleading standard

                     28 for CUTSA or DTSA claims); Space Data Corp. v. X, No. 16-3260, 2017 WL
                                                                21                 Case No. 18-cv-02421-JFW
                           PLAINTIFFS’ MPA IN OPPOSITION TO STONINGTON DEFENDANTS’ MOTION TO DISMISS
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                      1 3007078, at *3 (N.D. Cal. July 14, 2017) (same). To the contrary, to require a

                      2 plaintiff asserting a claim for trade secret misappropriation to “spell out the details

                      3 of the trade secret to avoid a demurrer to a complaint … would mean that the

                      4 complainant would have to destroy the very thing for which he sought protection by

                      5 making public the secret itself.” Cedars Sinai Med. Center, 2018 WL 2558388, at

                      6 *5 (citing Diodes, Inc. v. Franzen, 260 Cal. App. 2d 244, 252 (1968)). Indeed, the

                      7 Ninth Circuit has rejected the “sufficient particularity” pleading standard cited by
L L P




                      8 MedioStream, Inc. v. Microsoft Corp., 869 F. Supp. 2d 1095 (N.D. Cal. 2012), as

                      9 deriving from a California statute that does not address the pleading stage of
F L E X N E R




                     10 litigation. See Meggitt San Juan Capistrano, Inc., 575 Fed. Appx. at 803.

                     11        Plaintiffs need only assert “a short and plain statement of the claim showing
                     12 that the pleader is entitled to relief,” as required by Fed. R. Civ. P. 8(a)(2). Rockwell
S C H I L L E R




                     13 Collins, Inc. v. Wallace, No. SACV 17–01369 AG (JCGx), 2017 WL 5502775, at *2

                     14 (C.D. Cal. Nov. 10, 2017). The FAC pleads that the materials stolen included

                     15 business plans and proposals, the research supporting those proposals including
B O I E S




                     16 costs and service projections, and contact information for business relationships,

                     17 (FAC ¶¶ 205, 218), and that those materials included trade secrets (id. ¶¶ 15, 92,

                     18 128-29, 205, 218). Such materials qualify for trade secret protection under

                     19 California law. See UCAR Tech. (USA) Inc. v. Yan Li, No. 5:17-cv-01704-EJD,

                     20 2017 WL 6405620, at *3-4 (N.D. Cal. Dec. 15, 2017) (business plans); Henry

                     21 Schein, Inc. v. Cook, 191 F. Supp. 3d 1072, 1077 (N.D. Cal. 2016) (customer lists).

                     22 These descriptions satisfy the pleading requirements under Fed. R. Civ. P. 8. See

                     23 TMX Funding, Inc. v. Impero Techs., Inc., No. C 10–00202 JF (PVT), 2010 WL

                     24 2509979, at *3-4 (N.D. Cal. June 17, 2010).

                     25        D.     Count X of the FAC Alleges the Moving Defendants’ Participation
                     26               in a Conspiracy.
                     27        Contrary to the moving defendants’ assertions (Br. 21-24), the FAC alleges a
                     28 conspiracy theory against them. “If there are two alternative explanations, one
                                                                22                 Case No. 18-cv-02421-JFW
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                  Case 2:18-cv-02421-JFW-E Document 171 Filed 07/23/18 Page 32 of 34 Page ID #:3010



                      1 advanced by defendant and the other advanced by plaintiff, both of which are

                      2 plausible, plaintiff’s complaint survives a motion to dismiss under Rule 12(b)(6).”

                      3 Starr, 652 F.3d at 1216. To state an adequate claim for conspiracy, “a complaint is

                      4 sufficient if it apprises the defendant of the character and type of facts and

                      5 circumstances upon which she was relying to establish the conspiracy.” See Arei II

                      6 Cases, 157 Cal. Rptr. 3d 368, 383 (Cal. Ct. App. 2013) (quotation marks omitted).

                      7           The FAC pleads a plausible conspiracy by alleging that Qatar and other
L L P




                      8 Defendants (including the moving defendants) targeted Broidy as an impediment to

                      9 shifting U.S. opinion on Qatar, that Defendants (including the moving defendants)
F L E X N E R




                     10 then agreed to coordinate and orchestrate the hacks against Plaintiffs, disseminate

                     11 damaging information gleaned therefrom to media outlets, and then discussed those

                     12 materials with media outlets. (FAC ¶¶ 12, 126, 129.) The FAC pleads Muzin’s own
S C H I L L E R




                     13 admission of responsibility. (Id. ¶¶ 11-12, 131-38.)15

                     14           The moving defendants also incorrectly assert that the FAC fails to allege an
                     15 agreement involving them relating to the hack against Plaintiffs. (Br. 21.) To the
B O I E S




                     16 contrary, the FAC explicitly states that they “agreed to engage in and did in fact

                     17 engage in or coordinate a series of hacks and/or other misappropriation of the private

                     18 communications, documents, trade secrets and intellectual property of Plaintiffs.”

                     19 (FAC ¶ 92; see also id. ¶¶ 11-12, 128-29, 136-37.)

                     20           The moving defendants also incorrectly claim that the FAC fails to allege that
                     21 they “targeted” Plaintiffs “for hacking, receiving, and distributing Plaintiffs’” stolen

                     22 materials. (Br. 22.) The FAC in fact alleges that Muzin “fingered” Broidy to Qatar

                     23 as “somebody who, was not, didn’t like them too much,” and, consequently, Qatar

                     24 went “after” Broidy. (FAC ¶¶ 11, 136; see also id. ¶¶ 88-89, 91-92.)

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                          15
                     26   Although Muzin denied “any participation in the alleged hack” (Br. 23), that does
                        not change the fact that he acknowledged responsibility. (FAC ¶ 137.) Where two
                     27 plausible explanations for a factual allegation exist, a motion to dismiss is not the
                        proper avenue to resolve the dispute. See Oracle Am., Inc. v. Hewlett Packard
                     28 Enter. Co., No. 16-cv-01393-JST, 2017 WL 2672113, at *2 (N.D. Cal. Jan. 19,
                        2017).
                                                                    23                 Case No. 18-cv-02421-JFW
                               PLAINTIFFS’ MPA IN OPPOSITION TO STONINGTON DEFENDANTS’ MOTION TO DISMISS
                  Case 2:18-cv-02421-JFW-E Document 171 Filed 07/23/18 Page 33 of 34 Page ID #:3011



                      1           E.     Plaintiffs’ Common Law Tort Claims Are Not Preempted.
                      2                  1.     CUTSA Does Not Preempt Common Law Claims.
                      3           CUTSA does not preempt “civil remedies that are not based upon
                      4 misappropriation of a trade secret.” Cal. Civ. Code § 3426.7. Rather, “[w]here the

                      5 common law claim is based on the misappropriation of confidential information that

                      6 is not a trade secret under CUTSA, the claim is not preempted.” Luck v. OTX

                      7 Acquisition Corp., CV 10–1671 SVW (PJWx), 2010 WL 11595817, at *8 (C.D. Cal.
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                      8 2010) (citing TMX Funding, Inc. v. Impero Techs., Inc., C. No. 10–00202 JF, 2010

                      9 WL 2509979, at *4-5 (N.D. Cal. June 8, 2010)). Although the FAC does allege theft
F L E X N E R




                     10 of trade secrets, see Section III.C.2, it also alleges unlawful appropriation of many

                     11 other types of confidential materials that are not trade secrets (see FAC ¶¶ 15, 92,

                     12 117, 128-29, 163, 170-71, 180), and Plaintiffs’ CUTSA claim is permissible.16
S C H I L L E R




                     13                  2.     The CFAA Does Not Preempt Civil Conspiracy Claims.
                     14           The CFAA does not preempt Plaintiffs’ civil conspiracy claim. (Br. 24-25.)
                     15 Courts routinely permit plaintiffs to assert claims for both violations of the CFAA
B O I E S




                     16 and civil conspiracy. See MetroPCS v. SD Phone Trader, 187 F. Supp. 3d 1147,

                     17 1150 (S.D. Cal. 2016) (denying motion to dismiss claims for civil conspiracy or

                     18 CFAA violations); Famers Ins. Exchange v. Steele Ins. Agency, Inc., No. 2:13-CV-

                     19 00784-MCE-DAD, 2014 WL 466274, at *4 (E.D. Cal. Feb. 5, 2014) (same).

                     20           The decisions cited by the moving defendants do not stand for the broad
                     21 proposition that the CFAA preempts any claim for civil conspiracy, but hold only

                     22 that the CFAA preempts only a civil conspiracy to violate the CFAA. According to

                     23 those decisions, parties may assert a conspiracy to violate the CFAA under 18

                     24
                          16
                     25   “Whether information constitutes a trade secret is a fact-intensive determination,”
                        Copart, Inc. v. Sparta Consulting, Inc., 277 F. Supp. 3d 1127, 1154 (E.D. Cal. 2017)
                     26 (citing In re Providian Credit Card Cases, 96 Cal. App. 4th 292, 300-01 (2002)),
                        and often cannot be determined on a motion to dismiss. Thompson v. Impaxx, Inc.,
                     27 113 Cal. App. 4th 1425, 1430 (Ct. App. 2003); see also Luck, 2010 WL 11595817,
                        at *8 (holding that determining whether information is a trade secret “is not a matter
                     28 that the court can resolve based on the pleadings alone” and consequently, “a
                        CUTSA preemption finding is premature, at this time”).
                                                                    24                 Case No. 18-cv-02421-JFW
                               PLAINTIFFS’ MPA IN OPPOSITION TO STONINGTON DEFENDANTS’ MOTION TO DISMISS
                  Case 2:18-cv-02421-JFW-E Document 171 Filed 07/23/18 Page 34 of 34 Page ID #:3012



                      1 U.S.C. § 1030(b), which provides a private right of action for conspiracy to violate

                      2 the CFAA. See DHI Group, Inc. v. Kent, No. H-16-1670, 2017 WL 1088352, at *9-

                      3 13 (S.D. Tex. Mar. 3, 2017); see also Hovanec v. Miller, No. SA-17-CV-766, 2018

                      4 WL 1221486, at *8 (W.D. Tex. Mar. 7, 2018) (citing DHI Group for the proposition

                      5 that the statutory private right of action for conspiracy to violate the CFAA preempts

                      6 a civil conspiracy to violate the CFAA).17 The FAC alleges a conspiracy far broader

                      7 than a violation of the CFAA. (See FAC at ¶¶ 228-238.) Accordingly, there is no
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                      8 basis for dismissing Plaintiffs’ civil conspiracy claim.

                      9                                         CONCLUSION
F L E X N E R




                     10           For the reasons set forth above, this Court should deny the moving
                     11 defendants’ Motion to Dismiss in its entirety. In the alternative, jurisdictional

                     12 discovery and/or leave to amend the First Amended Complaint should be permitted.
S C H I L L E R




                     13

                     14                                        Respectfully submitted,
                     15 Dated: July 23, 2018
                                                               BOIES SCHILLER FLEXNER LLP
B O I E S




                     16                                        By: /s/ Lee S. Wolosky
                     17
                                                                     LEE S. WOLOSKY
                     18                                              Counsel for Plaintiffs

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                     27   To the extent this Court is inclined to dismiss the CFAA claim against the moving
                        defendants due to the preemption of a civil conspiracy theory, Plaintiffs respectfully
                     28 request to amend their complaint to allege a conspiracy to violate the CFAA under
                        18 U.S.C. § 1030(b).
                                                                    25                 Case No. 18-cv-02421-JFW
                               PLAINTIFFS’ MPA IN OPPOSITION TO STONINGTON DEFENDANTS’ MOTION TO DISMISS
